Case 1:05-cv-OlO78-.]DT-STA Document 16 Filed 04/18/05 Page 1 of 4c Page|D 7

|N THE UN|TED STATES D|SCTR|CT COURTCOURT
FOR THE VVESTERN DlSTRlCT OF TENNESSEE
EASTERN D|V|SION

JOHNNY R. RUTHERFORD and Wife,
RlTA RUTHERFORD,

 

)
)
)
Plaintiffs, )
)
v. ) Case No: 05-1078 T/An
) JURY DEMAND
MERCK & CO., |NC.; DVV|GHT D. FORD, )
DPH; SARAH C. CAPOCACC|A; STEPHAN|E )
B. (BUCK) |SON; COURTNEY SHAY )
(lNGRAM) lVlcN|AK|N; V|NAY KRISHAN )
SOOD; MEL|SSA CAROL (|VchLL|STER) )
BARNES; M|CHAEL R|CHARDS, PATRIC|A )
BLAS|NGAME and SCOTT EVANS, )
)
)

Defendants.

 

ORDER OF SUBST|TUTION

 

lt appearing to the Court that Thornas M. Donne||, Jr. of the law firm of Stewart,
Estes & Donne|| in Nashvil|e, Tennessee should be substituted for Attorney James M.
Doran, Jr. of the law firm of Wa||er Lansden Dortch & Davis, PLLC in Nashvil|e, Tennessee
as counsel for record for Defendant Dwight D. Ford, DPH;

lt is therefore ORDERED that Thomas |V|. Donnel|, Jr. of the law firm of Stewart,
Estes & Donne|| is substituted for Attorney James Nt. Doran, Jr. of the law firm of VVa||er

Lansden Dortch & Davis, PLLC as attorney of record for Defendant Dwight D. Ford, DPH.

./
Signed this l g day of Apri|, 2005.

 

JUDGE

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This document entered on the docket sheet in compliance
with sure ss and/or 79 (a) FncP on _OH;)Q;§

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APPROVED FOR ENTRV:

WALLER LANSDEN DORTCH & DAV|Sl PLLC

B,,; lyles »:YWJ-,, jLL?W¢\ ‘»~1¢3@~1?'@”“"“"*J

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Case 1:05-cv-01078-.]DT-STA Document 16 Filed 04/18/05 Page 3 of 4 Page|D 9

C_ERT|F|CAT_E_ OF SERV|CE

| hereby certify that a true and exact copy of the foregoing has been served via

United States Mai|, first class, postage pre-paid, to:

Steven G. Ohrval|, Esq.

T. Robert Hi|l, Esq.

Hil| - Boren, P.C.

1269 North High|and Avenue
P. O. Box 3539

Jackson, TN 38303-3539

this ~.5[ day of |V|arch, 2005.

269999

J&)WD?M§{

Thomas M. Donne|l, Jr.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 1:05-CV-01078 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

